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 2
                              UNITED STATES DISTRICT COURT
 3
                                 EASTERN DISTRICT OF CALIFORNIA
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 6    UNITED STATES OF AMERICA,                       Case No. 1:11-CR-00354-(41)-LJO
 7                            Plaintiff,
 8           v.
 9    ROBERT SALAZAR,                                 ORDER SETTING BRIEFING SCHEDULE
                                                      RE ROBERT SALAZAR’S MOTION TO
10                            Defendant.              REDUCE SENTENCE
11

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13          On August 21, 2016, Defendant Robert Salazar (“Petitioner”) filed a pro se motion to reduce
14   his sentence pursuant to Title 18, United States Code, Section 3582(c)(2) (“Section 3582 Motion”).
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     ECF No. 684. On August 30, 2016, the Federal Defender’s Office (“FDO”) filed a supplement to
16   Defendant’s motion. ECF No. 685. Accordingly, the Court sets forth the following briefing schedule.
17   From the filing date of this Order, the Government shall have 30 days to file an Opposition to
18   Defendant’s Section 3582 Motion. Thereafter, Defendant shall have 30 days from the date of the
19   Government’s Opposition to file his Reply.
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21   IT IS SO ORDERED.

22      Dated:     September 19, 2016                     /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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